                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE

 UNITED STATES OF AMERICA,                     )
                                               )
               Plaintiff,                      )
                                               )
 v.                                            )         No.:   3:19-CR-156-TAV-HBG
                                               )
 JESSUP LEE ESTEP,                             )
                                               )
               Defendant.                      )


                       MEMORANDUM OPINION AND ORDER

        This criminal case is before the Court on defendant’s pro se motion to recalculate

 his sentence [Doc. 53]. In his motion, defendant requests that the Court grant him credit

 toward his sentence for nine months he spent in custody before his sentencing.

        Defendant’s request must be denied, however, because “[t]his Court cannot grant or

 compute sentence credits under 18 U.S.C. § 3585(b).” United States v. Williams, No.

 05-20377-JDB, 2008 WL 3850212, at *1 (W.D. Tenn. Aug. 18, 2008). While the Court

 may make certain recommendations to the Bureau of Prisons, “the power to grant credit

 for time served lies solely with the Attorney General and the Bureau of Prisons.” United

 States v. Crozier, 259 F.3d 503, 520 (6th Cir. 2001) (first citing 18 U.S.C. § 3585(b); and

 then citing United States v. Wilson, 503 U.S. 329, 333 (1992)); see also United States v.

 Brown, 417 F. App’x 488, 493 (6th Cir. 2011) (“[A]warding credit for time served is the

 exclusive responsibility of the Bureau of Prisons.”).

        If the Bureau of Prisons declines to credit defendant’s time served, defendant may

 then raise his claims through the Bureau’s Administrative Remedy Program. Setser v.



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 United States, 566 U.S. 231, 244 (2012) (citing 28 C.F.R. § 542.10, et seq.). After

 exhausting administrative remedies, defendant may then petition for a writ of habeas

 corpus under 28 U.S.C. § 2241, a petition which must be filed in defendant’s district of

 confinement. Id.

       Accordingly, defendant’s motion to recalculate his sentence [Doc. 53] is hereby

 DENIED.

       IT IS SO ORDERED.


                                  s/ Thomas A. Varlan
                                  UNITED STATES DISTRICT JUDGE




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